                         Case 1-23-42411-ess               Doc 1        Filed 07/09/23           Entered 07/09/23 12:10:06



Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                2125 Flatbush Ave, Inc

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2127 Flatbush Avenue
                                  Brooklyn, NY 11234
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Kings                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                       Case 1-23-42411-ess                       Doc 1       Filed 07/09/23              Entered 07/09/23 12:10:06

Debtor    2125 Flatbush Ave, Inc                                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5313

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
                                                             Eastern District of
     If more than 2 cases, attach a                          New York Bankruptcy
     separate list.                               District   Court               When                12/03/19                    Case number   1-19-47277-ess
                                                  District                                 When                                  Case number




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor    2125 Flatbush Ave, Inc                                                                          Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      2340 ND Corp.                                                 Relationship               affiliate
                                                                 Eastern District of
                                                     District    New York                     When      2/07/23                Case number, if known      1-23-40412-ess


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion



Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor   2125 Flatbush Ave, Inc                                                      Case number (if known)
         Name


16. Estimated liabilities     $0 - $50,000                               $1,000,001 - $10 million             $500,000,001 - $1 billion
                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                       Case 1-23-42411-ess                  Doc 1        Filed 07/09/23             Entered 07/09/23 12:10:06

Debtor    2125 Flatbush Ave, Inc                                                                   Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 9, 2023
                                                  MM / DD / YYYY


                             X   /s/ Gene Burshtein                                                       Gene Burshtein
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Rachel S. Blumenfeld                                                  Date July 9, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Rachel S. Blumenfeld
                                 Printed name

                                 Law Office of Rachel S. Blumenfeld PLLC
                                 Firm name

                                 26 Court Street
                                 Suite 2220
                                 Brooklyn, NY 11242
                                 Number, Street, City, State & ZIP Code


                                 Contact phone                                   Email address      rachel@blumenfeldbankruptcy.com

                                 1458 NY
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         2125 Flatbush Ave, Inc

United States Bankruptcy Court for the:     EASTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       July 9, 2023                    X /s/ Gene Burshtein
                                                           Signature of individual signing on behalf of debtor

                                                            Gene Burshtein
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                       Case 1-23-42411-ess                  Doc 1          Filed 07/09/23              Entered 07/09/23 12:10:06



 Fill in this information to identify the case:
 Debtor name 2125 Flatbush Ave, Inc
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW                                                                             Check if this is an
                                                YORK
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 NYC Dept of                                         violations work           Unliquidated                $120,000.00                        $0.00            $120,000.00
 Finance                                             without a permit          Disputed
 PO Box 680
 Newark, NJ 07101
 NYC Dept of                                                                   Disputed                                                                          $24,128.79
 Finance
 Church Street
 Station
 P.O. Box 3600
 New York, NY
 10008-3600
 NYS Tax & Finance                                                             Disputed                                                                            $1,000.00
 Bankruptcy Section
 PO Box 5300
 Albany, NY 12205
 Wells Fargo Hom                                     2nd mortgage                                          $190,000.00                        $0.00            $190,000.00
 Mortgage
 P.O. Box 5708
 Springfield, OH
 45501-5708
 Wells Fargo Home                                    mortgage -                Unliquidated                $500,000.00                        $0.00            $500,000.00
 Mortgage                                            disputed to the           Disputed
 PO Box 14411                                        extent of a forced
 Des Moines, IA                                      place policy &
 50306                                               legal fees.




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                           Case 1-23-42411-ess                                     Doc 1              Filed 07/09/23                         Entered 07/09/23 12:10:06


 Fill in this information to identify the case:

 Debtor name            2125 Flatbush Ave, Inc

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            13,480.56

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            13,480.56


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           810,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            25,128.79

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$                    0.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             835,128.79




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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Fill in this information to identify the case:

Debtor name      2125 Flatbush Ave, Inc

United States Bankruptcy Court for the:    EASTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                        Check if this is an
                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
   All cash or cash equivalents owned or controlled by the debtor                                                       Current value of
                                                                                                                        debtor's interest

Part 2:      Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.


Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                    13,480.56       -                                 0.00 = ....                 $13,480.56
                                      face amount                           doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                       $13,480.56
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 1
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Debtor       2125 Flatbush Ave, Inc                                                      Case number (If known)
             Name



      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and             Net book value of             Valuation method used   Current value of
          property                              extent of              debtor's interest             for current value       debtor's interest
          Include street address or other       debtor's interest      (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.
          55.1. 2125 Flatbush
                   Avenue
                   Brooklyn, New York
                   11234                        Fee simple                             $0.00                                                     $0.00




56.       Total of Part 9.                                                                                                                  $0.00
          Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
          Copy the total to line 88.

57.       Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes

58.       Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes


Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                              page 2
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Debtor       2125 Flatbush Ave, Inc                                                        Case number (If known)
             Name

Part 10:     Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:     All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                       page 3
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Debtor          2125 Flatbush Ave, Inc                                                                              Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                     $13,480.56

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                              $13,480.56          + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $13,480.56




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                      page 4
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Fill in this information to identify the case:

Debtor name         2125 Flatbush Ave, Inc

United States Bankruptcy Court for the:           EASTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Barbara Dunleavy, Esq.                       Describe debtor's property that is subject to a lien                          $0.00                    $0.00
      Creditor's Name                              FOR NOTICE PURPOSES
      Shapiro DiCaro & Barak LL
      One Huntington Quadrantle
      Suite 3N05
      Melville, NY 11747
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Julie Ann Clark Esq.                         Describe debtor's property that is subject to a lien                          $0.00                    $0.00
      Creditor's Name                              FOR NOTICE PURPOSES RE WELLS FARGO
      Referee
      32 Court Street
      Suite 707
      Brooklyn, NY 11201
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
                        Case 1-23-42411-ess                     Doc 1         Filed 07/09/23             Entered 07/09/23 12:10:06


Debtor      2125 Flatbush Ave, Inc                                                                Case number (if known)
            Name

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   NYC Dept of Finance                         Describe debtor's property that is subject to a lien                     $120,000.00   $0.00
      Creditor's Name                             violations work without a permit
      PO Box 680
      Newark, NJ 07101
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




2.4   Shapiro DiCaro & Barak                      Describe debtor's property that is subject to a lien                           $0.00   $0.00
      Creditor's Name                             FOR NOTICE PURPOSES RE WELLS FARGO
      175 Mile Crossing Blvd.
      Rochester, NY 14624
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   Wells Fargo Hom Mortgage                    Describe debtor's property that is subject to a lien                     $190,000.00   $0.00
      Creditor's Name                             2nd mortgage
      P.O. Box 5708
      Springfield, OH 45501-5708
      Creditor's mailing address                  Describe the lien




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                       page 2 of 3
                         Case 1-23-42411-ess                     Doc 1         Filed 07/09/23             Entered 07/09/23 12:10:06


Debtor       2125 Flatbush Ave, Inc                                                                Case number (if known)
             Name

                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



       Wells Fargo Home
2.6                                                                                                                         $500,000.00                   $0.00
       Mortgage                                    Describe debtor's property that is subject to a lien
       Creditor's Name                             mortgage - disputed to the extent of a forced
                                                   place policy & legal fees.
       PO Box 14411
       Des Moines, IA 50306
       Creditor's mailing address                  Describe the lien
                                                   Mortgage
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative
       priority.                                      Disputed




3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $810,000.00

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 3 of 3
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Fill in this information to identify the case:

Debtor name        2125 Flatbush Ave, Inc

United States Bankruptcy Court for the:         EASTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                           $24,128.79          $24,128.79
          NYC Dept of Finance                                 Check all that apply.
          Church Street Station                                  Contingent
          P.O. Box 3600                                          Unliquidated
          New York, NY 10008-3600                                Disputed

          Date or dates debt was incurred                     Basis for the claim:


          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      Unknown
          NYC Environmental Control                           Check all that apply.
          Board                                                  Contingent
          66 John St.                                            Unliquidated
          New York, NY 10038                                     Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              sanitation tickets
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 2
                                                                                                              33345
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Debtor       2125 Flatbush Ave, Inc                                                                    Case number (if known)
             Name

2.3       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                   $1,000.00     $1,000.00
          NYS Tax & Finance                                   Check all that apply.
          Bankruptcy Section                                      Contingent
          PO Box 5300                                             Unliquidated
          Albany, NY 12205                                        Disputed

          Date or dates debt was incurred                     Basis for the claim:


          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
    3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
       out and attach the Additional Page of Part 2.
3.1    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.
                                                                                 Contingent
                                                                                 Unliquidated
          Date or dates debt was incurred
                                                                                 Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:

                                                                             Is the claim subject to offset?         No     Yes


Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                    On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
5a. Total claims from Part 1                                                                              5a.         $                     25,128.79
5b. Total claims from Part 2                                                                              5b.    +    $                          0.00

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                   5c.         $                         25,128.79




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 2
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Fill in this information to identify the case:

Debtor name       2125 Flatbush Ave, Inc

United States Bankruptcy Court for the:     EASTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or
           lease is for and the nature of
           the debtor's interest

               State the term remaining          approx 9 years
                                                                                    MTA
           List the contract number of any                                          2125 Flatbush Avenue
                 government contract                                                Brooklyn, NY 11234




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      2125 Flatbush Ave, Inc

United States Bankruptcy Court for the:   EASTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Gene Burshtein              2340 National Dr                                                                             D
                                      Brooklyn, NY 11234                                                                           E/F
                                      Wells Fargo Home Mortgage                                                                    G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         2125 Flatbush Ave, Inc

United States Bankruptcy Court for the:    EASTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                                 $23,511.71
      From 1/01/2023 to Filing Date
                                                                                          Other    gross rental income


      For prior year:                                                                     Operating a business                                 $45,000.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other    gross rental income


      For year before that:                                                               Operating a business                                 $45,000.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other    gross rental income

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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Debtor       2125 Flatbush Ave, Inc                                                             Case number (if known)



    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    Wells Fargo Bank, NA v.                  foreclosure                 Kings County Supreme                          Pending
              Debtor                                                               Court                                         On appeal
              8735/2013                                                            360 Adams Street
                                                                                                                                 Concluded
                                                                                   Brooklyn, NY 11201


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address             Description of the gifts or contributions                 Dates given                             Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None


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Debtor        2125 Flatbush Ave, Inc                                                              Case number (if known)



      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received             If not money, describe any property transferred               Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Law Office of Rachel S.
                Blumenfeld PLLC
                26 Court Street
                Suite 2220
                Brooklyn, NY 11242                       $9,238.00 (includes filing fees).                             July 9, 2023               $9,238.00

                Email or website address
                rachel@blumenfeldbankruptcy.com

                Who made the payment, if not debtor?
                Amberstone Business & Consulting
                Service



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                     Date transfer             Total amount or
               Address                                 payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                            Dates of occupancy
                                                                                                                   From-To

Part 8:       Health Care Bankruptcies

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Debtor      2125 Flatbush Ave, Inc                                                               Case number (if known)



15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own




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Debtor      2125 Flatbush Ave, Inc                                                              Case number (if known)




21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 5
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Debtor      2125 Flatbush Ave, Inc                                                                Case number (if known)



          within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                                 If any books of account and records are
                                                                                                       unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

             Name of the person who supervised the taking of the                      Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                         or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                     Address                                              Position and nature of any              % of interest, if
                                                                                                    interest                                any
      Gene Burshtein                           2340 National Dr.                                    shareholder                             100%
                                               Brooklyn, NY 11234



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient              Amount of money or description and value of                Dates               Reason for
                                                        property                                                                       providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                        Employer Identification number of the parent
                                                                                                         corporation




Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 6
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Debtor      2125 Flatbush Ave, Inc                                                              Case number (if known)



32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         July 9, 2023

/s/ Gene Burshtein                                              Gene Burshtein
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 7
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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                             Eastern District of New York
 In re       2125 Flatbush Ave, Inc                                                                           Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  9,238.00
             Prior to the filing of this statement I have received                                        $                  9,238.00
             Balance Due                                                                                  $                       0.00

2.    The source of the compensation paid to me was:

                  Debtor             Other (specify):      Amberstone Business & Consulting Service

3.    The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
              any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     July 9, 2023                                                             /s/ Rachel S. Blumenfeld
     Date                                                                     Rachel S. Blumenfeld
                                                                              Signature of Attorney
                                                                              Law Office of Rachel S. Blumenfeld PLLC
                                                                              26 Court Street
                                                                              Suite 2220
                                                                              Brooklyn, NY 11242

                                                                              rachel@blumenfeldbankruptcy.com
                                                                              Name of law firm
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                                                      United States Bankruptcy Court
                                                             Eastern District of New York
 In re    2125 Flatbush Ave, Inc                                                                                  Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder

-NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date July 9, 2023                                                        Signature /s/ Gene Burshtein
                                                                                        Gene Burshtein

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                           Eastern District of New York
 In re    2125 Flatbush Ave, Inc                                                Case No.
                                                         Debtor(s)              Chapter    11




                                   VERIFICATION OF CREDITOR MATRIX


        The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.




Date:     July 9, 2023                        /s/ Gene Burshtein
                                              Gene Burshtein/President
                                              Signer/Title

Date: July 9, 2023                            /s/ Rachel S. Blumenfeld
                                              Signature of Attorney
                                              Rachel S. Blumenfeld
                                              Law Office of Rachel S. Blumenfeld PLLC
                                              26 Court Street
                                              Suite 2220
                                              Brooklyn, NY 11242




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                   Shapiro DiCaro & Barak LL
                   One Huntington Quadrantle
                   Suite 3N05
                   Melville, NY 11747


                   Gene Burshtein
                   2340 National Dr
                   Brooklyn, NY 11234


                   Julie Ann Clark Esq.
                   Referee
                   32 Court Street
                   Suite 707
                   Brooklyn, NY 11201


                   MTA
                   2125 Flatbush Avenue
                   Brooklyn, NY 11234


                   NYC Dept of Finance
                   PO Box 680
                   Newark, NJ 07101


                   NYC Dept of Finance
                   Church Street Station
                   P.O. Box 3600
                   New York, NY 10008-3600


                   NYC Environmental Control
                   Board
                   66 John St.
                   New York, NY 10038


                   NYS Tax & Finance
                   Bankruptcy Section
                   PO Box 5300
                   Albany, NY 12205


                   Shapiro DiCaro & Barak
                   175 Mile Crossing Blvd.
                   Rochester, NY 14624


                   Wells Fargo Hom Mortgage
                   P.O. Box 5708
                   Springfield, OH 45501-5708
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               Wells Fargo Home Mortgage
               PO Box 14411
               Des Moines, IA 50306
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                                         United States Bankruptcy Court
                                              Eastern District of New York
 In re   2125 Flatbush Ave, Inc                                                      Case No.
                                                            Debtor(s)                Chapter    11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for 2125 Flatbush Ave, Inc in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




July 9, 2023                                   /s/ Rachel S. Blumenfeld
Date                                           Rachel S. Blumenfeld
                                               Signature of Attorney or Litigant
                                               Counsel for 2125 Flatbush Ave, Inc
                                               Law Office of Rachel S. Blumenfeld PLLC
                                               26 Court Street
                                               Suite 2220
                                               Brooklyn, NY 11242

                                               rachel@blumenfeldbankruptcy.com
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                                         UNITED STATES BANKRUPTCY COURT
                                          EASTERN DISTRICT OF NEW YORK


                                          STATEMENT PURSUANT TO LOCAL
                                            BANKRUPTCY RULE 1073-2(b)
 DEBTOR(S):           2125 Flatbush Ave, Inc                                           CASE NO.:.
        Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner's best knowledge, information and belief:

[NOTE: Cases shall be deemed "Related Cases" for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same; (ii) are
spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a
partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners; or (vii)
have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is included in the
property of another estate under 11 U.S.C. § 541(a).]

   NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

   THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:



1. CASE NO.: 1-19-47277-ess          JUDGE: DISTRICT/DIVISION: Eastern District of New York Bankruptcy Court

CASE STILL PENDING (Y/N):            N                 [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE:
                                                          (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):                       Prior Filing 12/03/2019

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


2. CASE NO.: 1-23-40412-ess JUDGE: The Honorable Elizabeth S.
Stong DISTRICT/DIVISION: Eastern District of New York

DEBTOR NAME: 2340 ND Corp.

CASE STILL PENDING (Y/N):            Y                 [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE:
                                                          (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):                         affiliate

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


3. CASE NO.:            JUDGE:            DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                              [If closed] Date of closing:



                                                                 (OVER)
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DISCLOSURE OF RELATED CASES (cont'd)

CURRENT STATUS OF RELATED CASE:
                                                          (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):     Y


CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any time, except
as indicated elsewhere on this form.


/s/ Rachel S. Blumenfeld
Rachel S. Blumenfeld
Signature of Debtor's Attorney                                            Signature of Pro Se Debtor/Petitioner
Law Office of Rachel S. Blumenfeld PLLC
26 Court Street
Suite 2220
Brooklyn, NY 11242                                                        Signature of Pro Se Joint Debtor/Petitioner


                                                                          Mailing Address of Debtor/Petitioner


                                                                          City, State, Zip Code


                                                                           Area Code and Telephone Number
Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or the
dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.




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